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               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR PRESIDENT,     )
INC.; GLENN THOMPSON; MIKE KELLY;  )
JOHN JOYCE; GUY RESCHENTHALER;     )
REPUBLICAN NATIONAL COMMITTEE;     )
MELANIE STRINGHILL PATTERSON; and  ) CIVIL ACTION
CLAYTON DAVID SHOW,                )
                                   )
               Plaintiffs,         )
                                   )
       v.                          ) No.: 2:20-cv-00966-NR
                                   )
KATHY BOOCKVAR, in her capacity as )
Secretary of the Commonwealth of   )
Pennsylvania; ADAMS COUNTY BOARD   )
OF ELECTIONS; ALLEGHENY COUNTY     )
BOARD OF ELECTIONS; ARMSTRONG      )
COUNTY BOARD OF ELECTIONS;         )
BEAVER COUNTY BOARD OF             )
ELECTIONS; BEDFORD COUNTY BOARD )
OF ELECTIONS; BERKS COUNTY BOARD )
OF ELECTIONS; BLAIR COUNTY BOARD )
OF ELECTIONS; BRADFORD COUNTY      )
BOARD OF ELECTIONS; BUCKS          )
COUNTY BOARD OF ELECTIONS;         )
BUTLER COUNTY BOARD OF             )
ELECTIONS; CAMBRIA COUNTY BOARD )
OF ELECTIONS; CAMERON COUNTY       )
BOARD OF ELECTIONS; CARBON         )
COUNTY BOARD OF ELECTIONS;         )
CENTRE COUNTY BOARD OF             )
ELECTIONS; CHESTER COUNTY BOARD )
OF ELECTIONS; CLARION COUNTY       )
BOARD OF ELECTIONS; CLEARFIELD     )
COUNTY BOARD OF ELECTIONS;         )
CLINTON COUNTY BOARD OF            )
ELECTIONS; COLUMBIA COUNTY         )
BOARD OF ELECTIONS; CRAWFORD       )
COUNTY BOARD OF ELECTIONS;         )
CUMBERLAND COUNTY BOARD OF         )
ELECTIONS; DAUPHIN COUNTY BOARD )
OF ELECTIONS; DELAWARE COUNTY      )
BOARD OF ELECTIONS; ELK COUNTY     )
BOARD OF ELECTIONS; ERIE COUNTY    )
BOARD OF ELECTIONS; FAYETTE        )
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COUNTY BOARD OF ELECTIONS;           )
FOREST COUNTY BOARD OF               )
ELECTIONS; FRANKLIN COUNTY           )
BOARD OF ELECTIONS; FULTON           )
COUNTY BOARD OF ELECTIONS;           )
GREENE COUNTY BOARD OF               )
ELECTIONS; HUNTINGDON COUNTY         )
BOARD OF ELECTIONS; INDIANA          )
COUNTY BOARD OF ELECTIONS;           )
JEFFERSON COUNTY BOARD OF            )
ELECTIONS; JUNIATA COUNTY BOARD      )
OF ELECTIONS; LACKAWANNA             )
COUNTY BOARD OF ELECTIONS;           )
LANCASTER COUNTY BOARD OF            )
ELECTIONS; LAWRENCE COUNTY           )
BOARD OF ELECTIONS; LEBANON          )
COUNTY BOARD OF ELECTIONS;           )
LEHIGH COUNTY BOARD OF               )
ELECTIONS; LUZERNE COUNTY BOARD      )
OF ELECTIONS; LYCOMING COUNTY        )
BOARD OF ELECTIONS; MCKEAN           )
COUNTY BOARD OF ELECTIONS;           )
MERCER COUNTY BOARD OF               )
ELECTIONS; MIFFLIN COUNTY BOARD      )
OF ELECTIONS; MONROE COUNTY          )
BOARD OF ELECTIONS; MONTGOMERY       )
COUNTY BOARD OF ELECTIONS;           )
MONTOUR COUNTY BOARD OF              )
ELECTIONS; NORTHAMPTON COUNTY        )
BOARD OF ELECTIONS;                  )
NORTHUMBERLAND COUNTY BOARD          )
OF ELECTIONS; PERRY COUNTY BOARD     )
OF ELECTIONS; PHILADELPHIA           )
COUNTY BOARD OF ELECTIONS; PIKE      )
COUNTY BOARD OF ELECTIONS;           )
POTTER COUNTY BOARD OF               )
ELECTIONS; SCHUYLKILL COUNTY         )
BOARD OF ELECTIONS; SNYDER           )
COUNTY BOARD OF ELECTIONS;           )
SOMERSET COUNTY BOARD OF             )
ELECTIONS; SULLIVAN COUNTY           )
BOARD OF ELECTIONS; SUSQUEHANNA      )
COUNTY BOARD OF ELECTIONS; TIOGA     )
COUNTY BOARD OF ELECTIONS; UNION     )
COUNTY BOARD OF ELECTIONS;           )
VENANGO COUNTY BOARD OF              )



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 ELECTIONS; WARREN COUNTY BOARD                 )
 OF ELECTIONS; WASHINGTON COUNTY                )
 BOARD OF ELECTIONS; WAYNE                      )
 COUNTY BOARD OF ELECTIONS;                     )
 WESTMORELAND COUNTY BOARD OF                   )
 ELECTIONS; WYOMING COUNTY                      )
 BOARD OF ELECTIONS; and YORK                   )
 COUNTY BOARD OF ELECTIONS,                     )
                                                )
               Defendants.                      )

                               NOTICE OF APPEARANCE

TO THE CLERK:

       Kindly enter the appearance of A. Michael Pratt on behalf of Proposed intervenors, the

Pennsylvania State Democratic Party, Congressman Dwight Evans, State Senators Sharif Street

and Vincent Hughes, State Representatives Danillo Burgos, Morgan Cephas, Austin Davis,

Isabella Fitzgerald, Edward Gainey, Jordan Harris, Mary Isaacson, Malcolm Kenyatta, Patty Kim,

Stephen Kinsey, Peter Schweyer, and candidates for office Nina Ahmad, Anton Andrew, Janet

Diaz, Manuel M. Guzman, Jr., Rick Krajewski (“Candidates”), and State Senators Art Haywood

and Anthony Williams (“Non-Candidate Legislators”) (collectively “Intervenors”), in the above-

captioned action.

                                           Respectfully submitted,

 Dated: July 13, 2020                     GREENBERG TRAURIG, LLP

                                          s/ A. Michael Pratt
                                          A. Michael Pratt
                                          1717 Arch Street, Suite 400
                                          Philadelphia, PA 19103
                                          Tel (215) 972.5916
                                          Fax (215) 988.7801
                                          prattam@gtlaw.com

                                          Attorneys for Intervenors




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                                CERTIFICATE OF SERVICE

       I, A. Michael Pratt, hereby certify that on this 13th day of July 2020, I caused a true and

correct copy of the foregoing Notice of Appearance to be served via this Court’s ECF filing system

on all counsel of record for Plaintiffs and Defendants.




                                                     s/ A. Michael Pratt
                                                     A. Michael Pratt
